USCA4 Appeal: 23-1255    Doc: 1          Filed: 03/10/2023   Pg: 1 of 1


                                                                     FILED: March 10, 2023

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                         ___________________

                                              No. 23-1255
                                          (3:23-cv-00090-DJN)
                                         ___________________

        WARREN KIRKLAND, Warren: Kirkland for Warren Kirkland Estate Trust

                     Plaintiff - Appellant

        v.

        FAIRFIELD WESTON CIRCLE LLC, d/b/a Weston Circle Apartments, by FRH
        GP LLC

                     Defendant - Appellee


        This case has been opened on appeal.

        Originating Court                          United States District Court for the
                                                   Eastern District of Virginia at
                                                   Richmond
        Originating Case Number                    3:23-cv-00090-DJN
        Date notice of appeal filed in             03/09/2023
        originating court:                         03/07/2023
        Appellant(s)                               Warren Kirkland
        Appellate Case Number                      23-1255
        Case Manager                               Marcy E. Beall
                                                   804-916-2702
